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                    UNITED STATES DISTRICT COURT

                     DISTRICT OF SOUTH CAROLINA

                    ANDERSON/GREENWOOD DIVISION




UNITED STATES OF AMERICA

             vs.                                  CASE NO. 8:19CR181-DCC-8

TREVOR MAURICE HULL



                                     PLEA


      The Defendant, TREVOR MAURICE HULL, acknowledges receipt of a

copy of the SUPERSEDING INDICTMENT and pleads GUILTY in open court to

count(s)   J \S .


                                                {~           ,IJ.-4.J.l
                                                 (Signed) Defendant
                                                                        .

Spartanburg, South Carolina
January 27, 2020
